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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


      ROOFERS’ PENSION FUND, Individually
      and On Behalf of All Others Similarly
      Situated,

                          Plaintiffs,           Civil Action No. 2:16-cv-2805-MCA-LDW
                  v.

      PERRIGO COMPANY, PLC, et al.,

                          Defendants.


      ABERDEENCANADAFUNDS­
      GLOBAL EQUITY FUND, a series of
      ABERDEEN CANADA FUNDS, et al.,

                          Plaintiffs,         Civil Action No. 2:19-cv-06560-MCA-LDW
                  v.

      PERRIGO COMPANY, PLC, et al.,

                          Defendants.


      BURLINGTON LOAN MANAGEMENT
      DAC,

                          Plaintiff,
                                              Civil Action No. 2:20-cv-1484
                  v.

      PERRIGO COMPANY, PLC, et al.,

                          Defendants.
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      CARMIGNAC GESTION, S.A.,

                       Plaintiff,

                  v.                      Civil Action No. 2:17-CV-10467-MCA-LDW

      PERRIGO COMPANY, PLC, et al.,

                       Defendants.

      DISCOVERY GLOBAL CITIZENS
      MASTER FUND, LTD., et al.,

                       Plaintiffs,
                                          Civil Action No. 2:19-cv-21502-MCA-LDW
                  v.

      PERRIGO COMPANY, PLC, et al.,

                       Defendants.


      FIRST MANHATTAN CO.,

                       Plaintiff,

                  v.                      Civil Action No. 2:18-CV-02291-MCA-LDW

      PERRIGO COMPANY, PLC, et al.,

                       Defendants.


      HAREL INSURANCE COMPANY, LTD.,
      et al.,

                       Plaintiffs,
                                          Civil Action No. 2:18-cv-02074-MCA-LDW
                  v.

      PERRIGO COMPANY, PLC, et al.,

                       Defendants.

      HUDSON BAY MASTER FUND LTD, et
      al.,
                                                                                   2
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                         Plaintiffs,

                  v.                      Civil Action No. 2:18-cv-16206-MCA-LDW
      PERRIGO COMPANY, PLC, et al.,

                         Defendants.


      MASON CAPITAL L.P., et al.,

                         Plaintiffs,

                  v.                      Civil Action No. 2:18-CV-01119-MCA-LDW

      PERRIGO COMPANY, PLC, et al.,

                         Defendants.

      NATIONWIDE MUTUAL FUNDS, on
      behalf of its series NATIONWIDE
      GENEYA MID CAP GROWTH FUND and
      NATIONWIDE S&P 500 INDEX FUND, et
      al.,                              Civil Action No. 2:18-CV-15382-MCA-LDW

                         Plaintiffs,

                  v.

      PERRIGO COMPANY, PLC, et al.,

                         Defendants.



      OZ MASTER FUND, LTD, et al.,

                         Plaintiffs,      Civil Action No. 19-cv-04900-MCA-LDW
                  v.

      PERRIGO COMPANY, PLC, et al.,

                         Defendants.



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      PENTWATER EQUITY
      OPPORTUNITIES MASTER FUND,
      LTD., et al.,

                       Plaintiffs,        Civil Action No. 2:18-CV-01121-MCA-LDW

                  v.

      PERRIGO COMPANY, PLC, et al.,

                       Defendants.


      SCHWAB CAPITAL TRUST on behalf of
      its series SCHWAB S&P 500 INDEX
      FUND, SCHWAB TOTAL STOCK
      MARKET INDEX FUND, SCHWAB
      FUNDAMENTAL U.S. LARGE
      COMP ANY INDEX FUND, and
      SCHWAB HEALTH CARE FUND, et al.,
                                          Civil Action No. 2:19-cv-03973-MCA-LDW
                       Plaintiffs,

                  v.

      PERRIGO COMPANY, PLC, et al.,

                       Defendants.


      TIAA-CREF INVESTMENT
      MANAGEMENT, LLC, et al.,

                       Plaintiffs,
                                          Civil Action No. 2:18-cv-08175-MCA-LDW
                  v.

      PERRIGO COMPANY, PLC, et al.,

                       Defendants.


      WCM ALTERNATIVES: EVENT-
      DRIVEN FUND, et al.,

                       Plaintiffs,
                                                                                   4
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                                                       Civil Action No. 2:18-cv-16204-MCA-LDW
                       v.

        PERRIGO COMPANY, PLC, et al.,

                               Defendants.

        YORK CAPITAL MANAGEMENT, L.P.,
        et al.,

                               Plaintiffs,
                                                       Civil Action No. 2:19-CV-21732
                       v.

        PERRIGO COMPANY, PLC, et al.,

                               Defendants.


                   MOTION TO EXTEND LIMITED STAY OF DISCOVERY


         The United States of America, through the Antitrust Division of the United States

  Department of Justice, submits this Motion to Extend Limited Stay of Discovery. On October 16,

  2019, the Court granted the limited stay of discovery relating to the pricing, sale, and marketing of

  Perrigo Company, plc’s (“Perrigo”) domestic generic pharmaceuticals that was agreed upon by the

  parties in the above-captioned action, as well as in the Individual Actions,1 until November 15,


  1
   The Individual Actions are: Carmignac Gestion, S.A. v. Perrigo Company plc, et al., No. 2:17-cv-
  10467-MCA-LDW, Mason Capital L.P., et al. v. Perrigo Co. plc, et al., No. 2:18-cv-1119-MCA-
  LDW, Pentwater Equity Opportunities Master Fund Ltd., et al. v. Perrigo Co. plc, et al., No. 2:18-
  cv-1121-MCA-LDW, Harel Insurance Company, Ltd., et al. v. Perrigo Company plc, et al., No.
  2:18-cv-02074-MCA-LDW, First Manhattan Co. v. Perrigo Company plc, et al., No. 2:18-cv-
  02291-MCA-LDW, TIAA-CREF Investment Management, LLC, et al. v. Perrigo Company plc, et
  al., No. 2:18-cv-08175-MCA-LDW, Nationwide Mutual Funds, et al. v. Perrigo Company plc, et
  al., No. 2:18-cv-15382-MCA-LDW, WCM Alternatives: Event-Driven Fund, et al. v. Perrigo Co.,
  plc, et al., No. 2:18-cv-16204-MCA-LDW, Hudson Bay Master Fund Ltd., et al. v. Perrigo Co.,
  plc, et al., No. 2:18-cv-16206-MCA-LDW, Schwab Capital Trust, et al. v. Perrigo Co. plc, et al.,
  No. 2:19-cv-03973-MCA-LDW, OZ Master Fund, Ltd., et al. v. Perrigo Co., plc, et al., No. 2:19-
  cv-04900-MCA-LDW, Aberdeen Canada Funds-Global Equity Fund, et al. v. Perrigo Co. plc, et
  al., No. 2:19-cv-06560-MCA-LDW, Discovery Global Citizens Master Fund, Ltd., et al. v. Perrigo

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  2019 (the “October Order”). On December 11, 2019, the Court granted a short extension of the

  October Order until March 15, 2020 (the “December Order”). The United States now respectfully

  request that the Court extend the October Order until June 3, 2020.


                                           BACKGROUND

         The United States is conducting a years-long criminal investigation of companies and

  individuals in the generic pharmaceuticals industry for possible collusion to inflate drug prices,

  allocate the market, and rig bids in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

  Portions of the criminal investigation remain non-public, but significant investigative steps have

  recently been made public. On March 2, 2020, the United States filed a four-count felony charge

  against Sandoz Inc., a generic pharmaceutical company based in New Jersey, for conspiring to

  allocate customers, rig bids, and fix prices for generic drugs. 2 The United States announced a

  deferred prosecution agreement resolving these charges against Sandoz, whereby the company

  agreed to pay a $195 million criminal penalty and admitted that its sales affected by the charged

  conspiracies exceeded $500 million. On February 14, 2020, the United States announced that

  former Sandoz executive Hector Armando Kellum pleaded guilty for his role in a conspiracy to fix

  prices, rig bids, and allocate customers for generic drugs. 3 Ten days earlier, on February 4, 2020,

  the United States secured a three-count indictment against Ara Aprahamian, a former top executive




  Company plc, et al., No. 2:19-cv-21502-MCA-LDW, York Capital Management, L.P. et al. v.
  Perrigo Company, plc, et al., 2:19-cv-21732, Burlington Loan Management DAC v. Perrigo
  Company plc, et al., No. 2:20-cv-1484.
  2
    Major Generic Pharmaceutical Company Admits to Antitrust Crimes, https://www.justice.gov/
  opa/pr/major-generic-pharmaceutical-company-admits-antitrust-crimes.
  3
    Former Generic Pharmaceutical Executive Pleads Guilty for Role in Criminal Antitrust
  Conspiracy, https://www.justice.gov/opa/pr/former-generic-pharmaceutical-executive-pleads-
  guilty-role-criminal-antitrust-conspiracy.

                                                                                                         6
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  at a generic pharmaceutical company in New York, for participating in conspiracies to fix prices,

  rig bids, and allocate customers for generic drugs. 4

         As both this civil action and the criminal investigation move forward, the United States has

  continued to evaluate whether it is possible to narrow the scope of the limited discovery stay.

  Indeed, consistent with the Court’s December Order, on January 30, 2020 the United States

  notified all parties that it was releasing from the limited discovery stay depositions noticed to an

  additional individual and to all corporate defendants under FRCP 30(b)(6), as long as the

  individuals designated to testify on behalf of corporate defendants are not individuals whose

  depositions are otherwise stayed.

         Similarly, the United States continues to work with all parties in a Multidistrict Litigation

  involving lawsuits alleging price fixing and other antitrust violations against several defendant

  generic pharmaceutical companies. See Order, In re: Generic Pharmaceuticals Pricing Antitrust

  Litig., 2:16-MD-2724, ECF No. 108 (E.D. Pa. Jan. 6, 2017). 5 There, on November 13, 2019, the

  MDL court also granted an extension of its own limited discovery stay until March 15, 2020.

  Pretrial Order No. 108, In re: Generic Pharmaceuticals Pricing Antitrust Litig., 2:16-MD-2724,

  ECF No. 1152 (E.D. Pa. Nov. 13, 2019). On March 12, 2020, the MDL court held a status

  conference hearing where the United States and the parties jointly requested an extension of the

  limited stay of discovery until March 26, 2020, to allow further negotiations. During the hearing

  the MDL court granted the two-week extension. The United States will be seeking an extension of


  4
    Generic Drug Executive Indicted on Antitrust and False Statement Charges,
  https://www.justice.gov/opa/pr/generic-drug-executive-indicted-antitrust-and-false-statement-
  charges.
  5
    Perrigo is a named defendant in some of the MDL lawsuits. See, e.g., Opinion, Appendix A, In
  re: Generic Pharmaceuticals Pricing Antitrust Litig., 2:16-MD-2724, ECF No. 1070 (E.D. Pa.
  Aug. 15, 2019) (denying a motion to dismiss claims against Perrigo New York, Inc. and Perrigo
  Company PLC).
                                                                                                         7
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  that stay to align with the MDL court’s CMO, to last until June 3, 2020. At the conclusion of the

  current MDL stay, the parties will either file a joint stipulated proposed order extending the stay of

  depositions, or the United States will file a contested motion. Consistent with this Court’s October

  Order, if the MDL court rules in favor of a shorter extension period, the United States would agree

  to shorten the limited discovery stay in this case to make both stays coterminous. See October

  Order, ECF No. 220 ¶ 8 (“The terms of this limited stay of discovery in this case will not extend

  beyond any stay of discovery imposed in the [MDL litigation].”). In those circumstances, the

  Unites States would promptly notify the Court of the shorter extension period.


         As this Court knows, the October Order was carefully drawn to ensure substantial

  categories of discovery—those unrelated to the United States’ ongoing criminal investigation—can

  continue without delay. Now that the United States has released depositions noticed to corporate

  defendants under FRCP 30(b)(6), the limited stay only applies to “[d]epositions of individuals

  involved in the sale, pricing, or marketing of generic pharmaceuticals in the United States for

  Perrigo after January 1, 2013.” Id. ¶¶ 3 & 4. From the original list of nearly 90 potential deponents,

  the limited stay will only continue to cover ten individuals. See id. ¶ 3(a)–(c); March Danks

  Declaration ¶12. If the Court grants the requested extension of the October Order, consistent with

  our practice to minimize the impact of the limited stay, the United States will try to identify

  additional depositions that can proceed without objection no later than Friday, May 1, 2020.


                                              ARGUMENT

         This Court “has broad discretion to stay proceedings.” Clinton v. Jones, 520 U.S. 681, 706

  (1997) (citing Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)). “[T]he power to stay proceedings

  is incidental to the power inherent in every court to control the disposition of the causes on its

  docket with economy of time and effort for itself, for counsel, and for litigants.” Air Line Pilots
                                                                                                         8
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  Ass’n v. Miller, 523 U.S. 866, 879 n.6 (1998) (quoting Landis, 299 U.S. at 254–55). A stay of civil

  proceedings in light of related criminal proceedings may be warranted in appropriate

  circumstances. See, e.g., Texaco, Inc. v. Borda, 383 F.2d 607 (3d Cir. 1967) (staying virtually all

  proceedings in a related action indefinitely); SEC v. Mersky, Case No. 93-cv-5200, 1994 WL

  22305, at *1 (E.D. Pa. Jan. 25, 1994) (staying all proceedings for two months). The United States,

  aware of the burden imposed by a stay, has not sought a stay of all discovery, but limited its

  request to discovery that involves facts and witnesses in common with the United States’ criminal

  investigation.


          I. A Limited Stay of Certain Discovery in this Civil Action is Still Warranted


          Permitting discovery to resume related to Perrigo’s pricing, sale, and marketing of generic

  pharmaceuticals in the United States risks causing significant harm to the United States’ ongoing

  criminal antitrust investigation, including the risk that facts and information likely to be revealed

  could jeopardize criminal investigative opportunities. See March Danks Declaration ¶¶ 9-14;

  Exhibit C ¶¶ 7–9. To determine whether a stay is warranted, a court must “weigh competing

  interests and maintain an even balance.” Landis, 299 U.S. at 255. The party seeking a stay “must

  make out a clear case of hardship or inequity in being required to go forward[] if there is even a

  fair possibility that the stay [requested] will work damage to some one else.” Id. “Especially in

  cases of extraordinary public moment, the [plaintiff] may be required to submit to delay not

  immoderate in extent and not oppressive in its consequences if the public welfare or convenience

  will thereby be promoted.” Id. at 256.

          In determining whether to stay a civil case because of a related criminal investigation,

  courts have considered the following factors: (1) the extent to which the issues in the criminal and

  civil cases overlap; (2) the status of the criminal case, including whether the defendants have been

                                                                                                          9
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  indicted; (3) the plaintiff’s interest in proceeding expeditiously weighed against the prejudice to

  plaintiff caused by a delay; (4) the private interests of and burden on defendants; (5) the interests of

  the court; and (6) the public interest. Walsh Sec., Inc. v. Cristo Property Mgmt., Ltd., 7 F. Supp. 2d

  523, 527 (D.N.J. 1998). Weighing the considerable harm posed to the United States’ criminal

  investigation against the moderate delay for Plaintiffs, on balance, these factors counsel in favor of

  an extension of the limited stay.


             A. Common Issues between the Criminal and Civil Cases Weigh in Favor of

                 Granting the Extension of the October Order


          Most critically, the allegations presented in this case are premised in part on the same

  criminal conduct that the United States is currently investigating, and “[t]he similarity of issues has

  been termed ‘the most important issue at the threshold’ in determining whether or not to grant a

  stay.” Walsh Sec., Inc., 7 F. Supp. 2d at 527 (citation omitted). One of the “four key areas” where

  Defendants allegedly made material misrepresentations and omissions is regarding “collusive

  pricing in Perrigo’s most profitable division, generic drugs.” Amended Complaint, ECF No. 89, ¶¶

  1, 6.

          Specifically, some of Lead Plaintiff’s allegations are premised on Perrigo’s alleged

  participation in a criminal antitrust conspiracy affecting the price of generic drugs. These

  allegations share common questions of law and fact with the United States’ criminal investigation

  into possible violations of the Sherman Act, 15 U.S.C. § 1, among generic drug manufacturers.

  Further, some of the various generic pharmaceutical manufacturers implicated by Lead Plaintiff’s

  complaint are also affected by the United States’ ongoing criminal investigation. See March Danks

  Declaration ¶¶9-11, Exhibit C ¶¶ 7–9. The discovery at issue involves facts, witnesses, and legal

  determinations that are common to both this civil action and the United States’ ongoing criminal

                                                                                                        10
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  investigation. Accordingly, this most-important factor weighs heavily in favor of granting an

  extension of the limited stay of discovery in this civil action.


              B. Status of Criminal Investigation

         The Antitrust Division’s criminal antitrust investigation is advancing rapidly. As noted

  earlier, the United States has recently reached a deferred prosecution agreement with a generic

  pharmaceutical company, filed an indictment against a former senior executive at that company,

  and reached a plea agreement with a former senior executive at another generic pharmaceutical

  company. Additional details about the status and future outlook of the United States’ criminal

  antitrust investigation remain non-public and highly sensitive, and have therefore been provided to

  the Court ex parte and in camera. See March Danks Declaration and exhibits. “The strongest case

  for a stay of discovery in the civil case occurs during a criminal prosecution after an indictment is

  returned. The potential for self-incrimination is greatest during this stage, and the potential harm to

  civil litigants arising from delaying them is reduced due to the promise of a fairly quick resolution

  of the criminal case …” Walsh Sec., Inc., 7 F. Supp. 2d at 527 (citations omitted).


              C. Plaintiffs Will Not Be Prejudiced by a 2½-month Limited Stay of Certain

                 Depositions


         The requested 2½-month limited stay of certain depositions will continue to allow nearly all

  discovery to move forward without delay, and thus Plaintiffs will not be prejudiced. 6 The bar for

  establishing prejudice from a moderate delay in proceedings is high. A plaintiff must “establish



  6
   The United States is also requesting the other terms of the October Order be extended until June
  3, 2020. Extending the other terms laid out in the October Order for an additional two and a half
  months will also not prejudice Plaintiffs.
                                                                                                       11
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  more . . . than simply ‘the right to pursue his case and to vindicate his claim expeditiously.’” State

  Farm Mut. Auto. Ins. Co. v. Beckham-Easley, Case No. 01-cv-5530, 2002 WL 31111766, at *3

  (E.D. Pa. Sept. 18, 2002) (citing Golden Quality Ice Cream Co., Inc. v. Deerfield Specialty Papers,

  Inc., 87 F.R.D. 53, 56 (E.D. Pa. 1980)); see also Akishev v. Kapustin, 23 F. Supp. 3d 440, 447

  (D.N.J. 2014) (“‘[M]ere’ delay does not, without more, necessitate a finding of undue

  prejudice[.]”) (citation omitted). Here, the moderate delay sought by the United States is not

  outweighed by any prejudice to Plaintiffs. The October Order was drafted to allow discovery of

  issues unrelated to the United States’ ongoing criminal investigation to continue unimpeded,

  lessening the prejudice to Plaintiffs of a stay. The United States has also worked with the parties to

  further limit the impact of the stay by confirming it will not object to depositions of certain

  individuals who otherwise would have been subject to the stay. Moreover, the United States has

  offered to identify additional individuals who may be deposed without objection during the

  pendency of the proposed stay.


              D. Defendants’ Interests


          The United States understand that Defendants take no position on the United States’

  requested relief.


              E. Interests of the Court and the Public Weigh in Favor of Extending the October

                  Order


          The Court has an interest in the “the disposition of the causes on its docket with economy

  of time and effort[.]” Air Line Pilots Ass’n, 523 U.S. at 879 n.6 (quoting Landis, 299 U.S. at 254-

  55). Here, a stay advances the interest of the Court because further development in the United
                                                                                                        12
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  States’ criminal investigation may “moot, clarify, or otherwise affect various contentions in the

  civil case.” United States v. Mellon Bank, N.A., 545 F.2d 869, 873 (3d Cir. 1976); In re Valeant

  Pharm. Int., Inc. Third-Party Payor Litig., Civ. A. No. 16-3087, 2017 WL 3429342, at *3 (D.N.J.

  Aug. 9, 2017).

             Finally, the public’s interest weights in favor of granting the extension of the October

  Order. The United States is “primarily charged by Congress with the duty of protecting the public

  interest under [the antitrust] laws,” and civil lawsuits brought by private plaintiff can only

  “supplement[] Government enforcement of the antitrust laws[.]” United States v. Borden Co., 347

  U.S. 514, 518 (1954); see also Howard Hess Dental Labs. Inc. v. Dentsply Int’l, Inc., 602 F.3d

  237, 249 (3d Cir. 2010) (citing Borden with approval and noting that “the Government’s right and

  duty to seek an injunction to protect the public interest exist without regard to any private suit or

  decree”). The public has an interest in the United States being allowed “to conduct a complete,

  unimpeded investigation into potential criminal activity.” Walsh Sec., Inc., 7 F. Supp. 2d at 529.

  The public stands to benefit significantly from the United States’ efficient and effective

  prosecution of criminal conduct.

             In addition, civil discovery depositions may result in certain subjects of the Antitrust

  Division’s criminal investigation gaining access to information earlier than permitted by the

  Federal Rules of Criminal Procedure,7 and before criminal charges are even filed. Courts have

  recognized that “through liberal discovery allowances of our rules of civil procedure, a criminal

  defendant should not be permitted to secure that to which he is not entitled under the rules of

  criminal procedure.” United States v. One 1967 Buick Hardtop Electra 225, 304 F. Supp. 1402,

  1403 (W.D. Pa. 1969).



  7
      See Fed. R. Crim. P. 16.
                                                                                                          13
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                                            CONCLUSION

         For the reasons stated above, the United States respectfully requests the Court extend the

  October Order until June 3, 2020 to allow its investigation to proceed without being jeopardized. 8



  Dated: March 13, 2020                         Respectfully submitted,
         Washington, DC
                                                 s/ Jesús M. Alvarado-Rivera
                                                 Jesús M. Alvarado-Rivera
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                                                 Jay Owen
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                                                 U.S. Department of Justice
                                                 Antitrust Division
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                                                 E-Mail: Jesus.Alvarado-Rivera@usdoj.gov

                                          COUNSEL FOR INTERVENOR-UNITED STATES




  8
    If the Court grants the extension of stay, the United States reserves the right to seek a further
  reasonable extension of the stay if warranted by circumstances. For additional details, please see
  Paragraphs 13-14 of the March Danks Declaration. Conversely, if developments in the
  investigation obviate the need for the stay prior to June 3, 2020, the United States will notify the
  Court promptly.
                                                                                                         14
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on March 13, 2020, I electronically filed the foregoing Motion to

   Extend Limited Stay Discovery with the Clerk of Court using the CM/ECF system, which will

   send notification of such to all counsel of record.




                                                 s/ Jesús M. Alvarado-Rivera
                                                 Jesús M. Alvarado-Rivera
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                                                                                                    15
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                  DESIGNATION PURSUANT TO LOCAL CIVIL RULE 101.1(f)

           Pursuant to Local Civil Rule 101.1(f), the undersigned hereby designates the United

    States Attorney for the District of New Jersey to receive service of all notices or papers in

    this action at the following address:


    Mark Orlowski
    Assistant U.S.
    Attorney
    United States Attorney’s
    Office District of New Jersey
    970 Broad Street, Suite 700
    Newark, NJ 07102
    Telephone: (973) 297-2098



                                                 s/ Jesús M. Alvarado-Rivera

                                                 Jesús M. Alvarado-Rivera
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